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               IN THE UNITED STATES DISTRICT COURT
             FOR THE MIDDLE DISTRICT OF PENNSYLVANIA
PATRICK KING,                            :    Civil No. 1:15-cv-159
                                         :
                  Plaintiff,             :
                                         :
            v.                           :
                                         :
MANSFIELD UNIVERSITY OF                  :
PENNSYLVANIA;                            :
THE PENNSYLVANIA STATE                   :
SYSTEM OF HIGHER                         :
EDUCATION; JOHN HALSTED;                 :
CHRISTINE SHEGAN,                        :
                                         :
                  Defendants.            :     Judge Sylvia H. Rambo

                                    ORDER

      Before the court is Plaintiff’s request to issue a supplemental expert report.

The court hereby GRANTS Plaintiff’s request, on the following terms:

      - Plaintiff must have his expert re-examine him and issue any needed

         supplemental report by December 17, 2019.

      - Defendants’ expert also may re-examine Plaintiff and issue a rebuttal

         report by February 17, 2020.

      - The court sets the pre-trial conference for June 22, 2020 and trial for the

         week of June 29, 2020.

                                               /s/ Sylvia H. Rambo
                                               SYLVIA H. RAMBO
                                               United States District Judge

Dated: October 17, 2019
